Case 3:23-cv-00711-KM Document 11-5 Filed 05/31/23 Page 1 of 4

EXHIBIT “E”
 

Case 3:23-cv-00711-KM Document 11-5 Filed 05/31/23 Page 2 of 4

 

 

Judge Assigned:

 

OTN:

Arresting Agency:
Citation No.:

Disposition:

County:
Case Status:

Case Status
Inactive

Case Calendar
Event Type
Summary Trial

Name:
Date of Birth:
Address(es):

Home

Colorado Springs, CO 80936

Participant Type
Defendant
Arresting Officer

Bt
QO
=
»
=
Ie

1 LO § 110 §§ 1

Magisterial District Judge 11-1-04
ons DOCKET

Commonwealth of Pennsylvania
Vv.
Bruce Douglas

CASE INFORMATION
Alexandra Kokura Kravitz Issue Date:
File Date: 01/25/2019
Code Enforcement, Municipal Arrest Date:
R 2456434-1 Incident No.:
Guilty Disposition Date: 05/23/2019
Luzerne Township: Pittston City
Inactive
STATUS INFORMATION
Status Date Processing Status
11/03/2022 Case Balance Due
05/23/2019 Case Balance Due
05/23/2019 Case Disposed/Penalty Imposed
05/23/2019 Completed
05/23/2019 Case Balance Due
05/23/2019 Awaiting Sentencing
04/10/2019 Awaiting Summary Trial
04/10/2019 Awaiting Plea
01/25/2019 Awaiting Piea
CALENDAR EVENTS
Schedule
Start Date Start Time Room Judge Name
05/23/2019 4:30 pm Alexandra Kokura Kravitz
DEFENDANT INFORMATION
Douglas, Bruce Sex:
Race:

CASE PARTICIPANTS

Participant Name
Douglas, Bruce

Smith, Harry
CHARGES
Grade Description Offense Dt.
Ss Demolition 01/25/2019

Docket Number: MJ-11104-NT-0000134-2019
Non-Traffic Docket

Page 1 of 3

Schedule
Status

Scheduled

Disposition
Guilty

 

MDJS 1200

Printed: 05/17/2023 12:16 pm

Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of the
Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or omissions
on these docket sheets. Docket sheet information should not be used in place of a criminal history background check, which can only be provided by the
Pennsylvania State Police. Employers who do not comply with the provisions of the Criminal History Record Information Act (18 Pa.C.S. Section 9101 et seq.)

may be subiect to civil liability as set forth in 18 Pa.C.S. Section 9183.

 
Case 3:23-cv-00711-KM Document 11-5 Filed 05/31/23 Page 3 of 4

 

 

Magisterial District Judge 11-1-04

DOCKET
Docket Number: MJ-11104-NT-0000134-2019

Non-Traffic Docket

Commonwealth of Pennsylvania
v.
Bruce Douglas

 

 

Page 2 of 3
DISPOSITION / SENTENCING DETAILS
Case Disposition Disposition Date Was Defendant Present?
Guilty 05/23/2019 No
Offense Seq./Description Offense Disposition:
1 Demolition Guilty
ATTORNEY INFORMATION
Private
Name: William Jennings Wait lll, Esq.
Representing: Douglas, Bruce
Counsel Status: Active
Supreme Court No.: 206831
Phone No.: 570-654-4643
Address: Saporito Falcone & Watt
490 N Main St Ste 202
Pittston, PA 18640-2100
DOCKET ENTRY INFORMATION
Filed Date Entry Filer Applies To
05/23/2019 Order Imposing Sentence Printed Magisterial District Court 11-1-04 Bruce Douglas, Defendant
05/23/2019 Guilty | Alexandra Kokura Kravitz = =—=S=S«ruce Douglas, Defendant =
04/22/2019 Certified Summary Trial Notice Accepted “Magisterial District Court 11-104 ‘Bruce Douglas, Defendant = ™”
04/10/2019 Certified Summary Trial Notice Issued —-Magisterial District Court 11-1-04 ‘Bruce Douglas,Defendant
02/11/2019 Certified Summons Accepted == sid Magisterial District Court 11-1-04 Bruce Douglas, Defendant =
01/31/2019 "Summons Issued OE Magisterial District Court 11-1-04 "Bruce Douglas, Defendant _ OO
01/31/2019 FirstClass Summons Issued sid Magisterial District Court 11-104 Bruce Douglas,Defendant =
01/31/2019 Certified Summons Issued —isd Magisterial District Court 11-1-04 Bruce Douglas,Defendant ==
01/25/2019 ~ Non-Traffic Citation Filed — CO Magisterial District Court 11-1-04 EE
PAYMENT PLAN SUMMARY
Payment Plan No. Payment Plan Freq. Next Due Date Active Next Due Amt. Overdue Amt.
11104-2019-P0001545 Monthly 06/24/2019 Yes $100.00 $4,700.00
Responsible Participant
Bruce, Douglas
Payment Plan History: Payment Dt. Applied Dt. Transaction Type Payor Participant Role Amount
MDJS 1200 Page 2 of 3 Printed: 05/17/2023 12:16 pm

Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of the
Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or omissions
on these docket sheets. Docket sheet information should not be used in place of a criminal history background check, which can only be provided by the
Pennsylvania State Police. Employers who do not comply with the provisions of the Criminal History Record Information Act (18 Pa.C.S. Section 9101 et seq.)
may be subiect to civil liability as set forth in 18 Pa.C.S. Section 9183,

 
Case 3:23-cv-00711-KM Document 11-5 Filed 05/31/23 Page 4 of 4

 

 

Magisterial District Judge 11-1-04

 

 

 

 

 

DOCKET
Docket Number: MJ-11104-NT-0000134-2019
Non-Traffic Docket
Commonwealth of Pennsylvania
Vv.
Bruce Douglas
Page 3 of 3
CASE FINANCIAL INFORMATION
Case Balance: $1,040.25 Next Payment Amt:
Last Payment Amt: Next Payment Due Date:
Non-Monetary
Assessment Amt Adjustment Amt Payment Amt Payment Amt Balance
ATJ $6.00 $0.00 $0.00 $0.00 $6.00
CJES $2.50 $0.00 $0.00 $0.00 $2.50
JCPS $21.25 $0.00 $0.00 $0.00 $21.25
Judicial Computer Project $8.00 $0.00 $0.00 $0.00 $8.00
Local Ordinance $1,000.00 $0.00 $0.00 $0.00 $1,000.00
OAG - JCP $2.50 $0.00 $0.00 $0.00 $2.50
MDJS 1200 Page 3 of 3 Printed: 05/17/2023 12:16 pm

Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of the
Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or omissions
on these docket sheets. Docket sheet information should not be used in place of a criminal history background check, which can only be provided by the
Pennsylvania State Police. Employers who do not comply with the provisions of the Criminal History Record Information Act (18 Pa.C.S. Section 9101 et seq.)
may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.

 
